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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                             )
 UNITED STATES OF AMERICA,                   )
                                             )         Criminal No.: 14-10363-RGS
        v.                                   )
                                             )
 BARRY J. CADDEN, et al.                     )
                                             )
                                             )
                Defendants.                  )
                                             )


              DEFENDANTS’ PROPOSED JUROR VOIR DIRE QUESTIONS




       Defendants, by and through undersigned counsel, respectfully request that this Court

include the following questions in its examination of prospective jurors conducted pursuant to Rule

24(a) of the Federal Rules of Criminal Procedure. The defense reserves the right to supplement

these proposed questions pending the outcome of certain pretrial motions and finalizing the

defendants’ witness list.

                                         *       *        *

 Respectfully submitted,                             Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I, Christopher M. Iaquinto, hereby certify that this document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-participants on
September 18, 2018.


                                             _/s/Christopher M. Iaquinto____
                                             Christopher M. Iaquinto




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                      PROPOSED JUROR VOIR DIRE QUESTIONS

        1.     Since completing the juror questionnaire, have you read or heard about this case
in the news or on the Internet or done any research on this case, including “Googling” the terms
“New England Compounding Center,” “NECC,” or any other terms related to this case?

       2.      Would you be able to follow an instruction from the Judge in this case that forbids
you from conducting online research (through Google or otherwise), reading, listening to,
discussing, writing, or posting online anything about this case, the New England Compounding
Center, or any of its former owners or employees?

        3.      Do you or anyone close to you have education, training, or work experience in
any of the following areas:

               __ Pharmacy or pharmacology
               __ Lab technician testing food or drug samples
               __ Environmental monitoring
               __ Microbiology


       4.      Have you or anyone close to you ever:

               __ Been involved in a state or federal regulatory agency inspection as part of your
                  job
               __ Been responsible for drafting or enforcing company policies and procedures
               __ Taken, used or purchased any products made by a compounding pharmacy
               __ Taken or been given an injectable medicine
               __ Had a surgery in which you were administered a general anesthetic
               __ Worked as a scientist or in a lab
               __ Worked in a sterile environment, including a clean room

       5.      Do you have a positive or negative opinion of:

               __ Pharmacies or pharmacists
               __ Compounding pharmacies specifically
               __ The pharmaceutical industry

       6.      Do you hold any professional license(s) in the healthcare field?

       7.      Have you ever been a whistleblower or filed a whistleblower lawsuit?

       8.     Have you or anyone close to you ever worked in, or applied for work in, law
enforcement, e.g. police, FBI, state or federal prosecutor, corrections officer?
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       9.      Would you tend to believe the testimony of witnesses who work for law
enforcement or government agencies (like the FBI or the Food and Drug Administration), more
than other witnesses?

        10.    Have you ever:

               __ Served on a jury
               __ Been a plaintiff in a lawsuit
               __ Been a defendant in a lawsuit
               __ Testified under oath

        11.    Have you or anyone close to you ever been a victim of a crime?

        12.    Have you formed an opinion about the probable guilt or innocence of any of the
defendants in this case based on anything that you have seen, heard or been told or based on any
other experiences or views?

        13.     Is there any other matter or any information– including anything else in your
background, experience, employment, training, education, knowledge, or beliefs – that would
affect your ability to be a fair and impartial juror?




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